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VIA ECF

June 17, 2025

Hon. Sidney H. Stein
U.S. District Court
Southern District of New York
500 Pearl St., Room 24A
New York, NY 10007-1312

RE:    In re OpenAI Copyright Litigation, 25-md-3143 (SHS) (OTW)

Dear Judge Stein:

         Pursuant to this Court’s May 22, 2025 Case Management Order, the parties in the above-
referenced case submit the attached Joint [Proposed] Case Schedule. The parties have agreed on
all the proposed dates except for three dates marked in bold red text in the attached document.


June 17, 2025                                      Respectfully submitted,

                                                   /s/ Steven Lieberman
                                                   Steven Lieberman
                                                   Rothwell Figg Ernst & Manbeck, P.C.
                                                   On behalf of News Plaintiffs

                                                   /s/ Justin Nelson
                                                   Justin Nelson
                                                   Susman Godfrey L.L.P.
                                                   On behalf of Class Plaintiffs

                                                   /s/ Paven Malhotra
                                                   Paven Malhotra
                                                   Keker, Van Nest & Peters LLP
                                                   On behalf of OpenAI

                                                   /s/ Jared Briant
                                                   Jared Briant
                                                   Faegre, Drinker, Biddle & Reath LLP
                                                   On behalf of Microsoft


cc: All Counsel of Record (via ECF)
